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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

' DoNovAN HARGRETT
and MICHAEL MATHIS, er aL,

Plaintiffs,
v. CASE NO. 8:15-cv-2456-T-26EAJ
AMAZON.com DEDC LLC,

Defendant,

 

MICHAEL AUSTIN, et al.,
Plaintiff,
v. CASE NO. 8:15-cv-2588-T-26JSS

AMAZON.com DEDC LLC,

Defendant.

ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL OF
CLASS ACTION SETTLEMENT, CERTIFYING CLASS FOR SETTLEMENT
PURPOSES, DIRECTING THE ISSUANCE OF CLASS NOTICE, AND SCHEDULING
A FINAL APPROVAL HEARING

Upon review and consideration of Plaintiffs’ Motion for Prelirninary Approval of Class
Action Settlement, including the Parties’ Stipulation and Settlement Agreement (the “Settlement

Agreement”) and all Exhibits thereto, and having been fially advised in the premises, it is HEREBY

ORDER.ED, ADJUDGED and DECREED as follows:

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1. Settlement. Plaintiffs Donovan Hargrett, Michael Austin, and Michael Mathis
(“Plaintiffs”), on behalf of themselves and all Settlement Class I\/Iembers, and Defendant
Amazon.com DEDC, LLC (“Amazon”) (collectively, the “Settling Parties”), have negotiated a
potential settlement of this action (the “Action”) to avoid the expense, uncertainties, and burden
lof protracted litigation, and to resolve any and all claims being released by the Settlement
Agreement, including all claims which have been or could be asserted by Plaintiffs and/orl
other members of the Settlement Classes in the Action against Amazon and all of its respective
past and present divisions, parents, subsidiaries, predecessors, investors, parent companies,
acquired companies, insurers, agents, and affiliated companies

2. Review. The Court has carefully reviewed the Settlement Agreement, as well as
the files, records, and proceedings to date in this matter. The terms and conditions in the Settlement
Agreement are hereby incorporated as though fully set forth in this Order, and, unless otherwise
indicated, capitalized terms in this Order shall have the meanings attributed to them in the
Settlement Agreement.

3. Preliminary Approval. The Settlement Agreement entered into by and among the
Settling Parties has been negotiated at arm’s-length and is approved on a preliminary basis as
fair, reasonable, and adequate

4. Settlement Class Definitions and Relief. The proposed Settlement Class Relief to
the Settlement Class Members, as identified in Section IV of the Settlement Agreement, is
approved on a preliminary basis as fair, reasonable, and adequate. The Settlement Classes include
the Disclosure Form Settlement Class and the Pre-Adverse Action Notice Subclass.

The Disclosure Forrn Settlement Class shall consist of all individuals in the United States

who (a) applied online for work at Amazon or its affiliates using the Salesforce platform; (b) were

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the subject of a consumer report that was procured by Amazon or its affiliates (or caused to be
procured by Amazon); (c) to whom Amazon or its affiliates presented the Disclosure Fonn; (d)
within two years of the filing of the Hargrett Matter through the date of Preliminary Approval. 'l`he
Parties represent that the Disclosure Form Settlement Class consists of approximately 454,000
individuals Excluded from the Disclosure Forrn Settlement Class are all individuals who file a
timely and proper request to be excluded from the Settlement Class in accordance with the
Settlement Agreement.

The Adverse Action Settlement Class shall consist of all Disclosure Form Class Members
as to whom Amazon or its affiliates took adverse action based in whole or in part on any consumer
report from August 22, 2015 through the date of Preliminary Approval. The Adverse Action
Settlement Class consists of approximately 29,000 individuals

5. Preliminary Certification of Settlement Class The Court makes the following
determinations as to certification of the Settlement Class for settlement purposes only:

(a) The Court preliminarily certifies the Settlement Classes for purposes of
settlement only, under Fed. R. Civ. P. 23(a) and (b)(3).

(b) The Settlement Classes are so numerous that joinder of all members is
impracticable;

(c) There are questions of law or fact common to the members of the Settlement
Classes;

(d) The claims of Plaintiff`s are typical of the claims of the other members of
the Settlement Classes;

(e) Plaintiffs and are capable of fairly and adequately protecting the interests of

the members of the Settlement Classes, in connection with the Settlement Agreement;

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(f) Common questions of law and fact predominate over questions affecting
only individual members of the Settlement Classes;

(g) The Settlement Classes are ascertainable;

(h) Resolution of the claims in this Litigation by way of Settlement is superior
to other available methods for the fair and efficient resolution of the claims of the Settlement
Classes.

6. Designation of Class Representatives. Plaintiffs Donovan Hargrett and Michael
Austin are designated as representatives of the Disclosure Form Settlement Class for the sole
purpose of seeking a settlement of the Litigation. Plaintiffs Hargrett and Michael Mathis are
designated as representatives of the Adverse Action Settlement Class for the sole purpose of
seeking a settlement of the Litigation
7. Designation of Class Counsel. Attomeys Luis A. Cabassa and Brandon J. Hill of
the law firm Wenzel l*`enton Cabassa, P.A., Leonard A. Bennett and Craig C. Marchiando of
Consumer Litigation Associates, P.C., and Marc Edelman of` Morgan & Morgan are hereby
designated as Class Counsel for the Settlement Classes.
8. Final Approval Hearing. A hearing regarding final approval of the Settlement
(“Final Approval Hearing”) will be held at 9:30 a.m. on November 16, 2018 in Tampa, Florida
before the Honorable Richard A. Lazzara, to determine, among other things: (i) whether the
Settlement of the Litigation should be approved as fair, reasonable, and adequate; (ii) whether the
Litigation should be dismissed with prejudice pursuant to the terms of the Settlement Agreement;
(iii) whether Settlement Class Members should be bound by the Release set forth in the Settlement
Agreement; (iv) whether Settlement Class Members should be subject to a permanent injunction

which, among other things, bars Settlement Class Mernbers who have not opted out, from filing,

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commencing, prosecuting, intervening in, participating in (as class members or otherwise),
organizing, or soliciting the participation of other Settlement Class Members to pursue any action
in any jurisdiction based on or relating to any of the Released Claims (as defined in the Settlement
Agreement) or the facts and circumstances relating thereto; and (v) whether the application of
Class Counsel for an award of Attorneys’ Fees and Expenses, and for a Case Contribution Award
to Plaintiff, should be approved.

Such hearing may be reset to a later date than that in the Class Notices without requiring
additional, subsequent notice to Class Mernbers.

9. Class Notice,

(a) The Court approves the Class Notice in the Settlement Agreement,
including the Short-Form Notice electronically mailed to all Settlement Class Members attached
as Exhibit B to the Settlement Agreement and the manner of providing mail notice to Settlement
Class Members described in Section VII of the Settlement Agreement. The Court finds that this is
the best practicable notice under the circumstances and is reasonably calculated, under all the
circumstances to apprise the Settlement Class Members of the pendency of this Action, the terms
of the Settlement Agreement, and their right to object to the Settlement Agreement or exclude
themselves from the Settlement Class The Court further finds that mail notice and the other forms
of Class Notice in the Settlement Agreement are reasonable, constitute due, adequate, and
sufficient notice to all persons entitled to receive notice, and meet the requirements of` due process

(b) The Short~Form Notice shall be mailed not less than ninety (90) days
before the date set by the Court for a Final Approval Hearing regarding the Settlement.

(c) No later than the sending of the Short-Form Notice, the Settlement

Administrator shall establish an Internet site (the “Settlement Website”), which shall contain

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copies of the Complaint, the Settlement Agreement and Exhibits, the Short-Form Notice, the Long-
Form Notice, and other documents about the Lawsuit. The Settlement Website shall have a
Unifonn Resource Locator which identifies the Settlement Website as
HargrettFCRASettlement.com. The Settlement Website shall remain open and accessible through
the expiration period of all issued Settlement checks The Settlement Website also shall
prominently display contact information for Class Counsel and shall direct all questions about the
Class Settlement to Class Counsel.

(d) No later than 7 days prior to the Final Approval Hearing, Class Counsel
shall obtain from the Settlement Administrator and shall file With the Court a proof of mailing of
the Mail Notice and of establishing the Settlement Website.

10. Administrator. The Court authorizes and directs the Parties to retain a Settlement
Administrator to implement the terms of` the Settlement Agreement, and authorizes and directs
such Administrators to: (i) mail and provide Class Notice; (ii) establish the Settlement Website;
(iii) administer the Settlement Fund and provide settlement relief to Settlement Class Members;
and (iv) carry out such other responsibilities as are provided for in the Settlement Agreement or
may be agreed to by the Parties in the Action.

ll. Exclusion from the Settlement Class. Any Settlement Class Member who
wishes to be excluded from the Class must send a Written Request for Exclusion to Class
Counsel (or the Settlement Administrator), by first-class mail, postage prepaid, to the address
provided in the Class Notice. Any such Request for Exclusion must be postmarked no later than
October l, 2018, which is forty-five (45) days after the Mail Notice Date.

(a) To be valid, the Request for Exclusion must: (a) identify the case name;

(b) identify the narne, address, and telephone number of the Settlement Class Member; (c) identify

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the address of the property securing the loan for which the Settlement Class Member received the
reinstatement quote letter; (d) be personally signed by the Settlement Class Member requesting
exclusion; and (e) contain a statement that indicates a desire to be excluded from the Settlement
Class in the Litigation, such as “I hereby request that I be excluded from the proposed [Disclosure
Forrn or Pre-Adverse Action] Settlement Class in Hargrett v. Amazon. com DEDC LLC, No. 8:15-
cv-02456-RAL-AAS.”

(b) A Settlement Class Member who desires to opt out must take timely
affirmative written action pursuant to this Order and the Settlement Agreement, even if the
Settlement Class Member desiring to opt out of the Class (a) files or has filed a separate action
against any of the Released Persons (as defined in the Settlement Agreement), or (b) is, or
becomes, a putative class member in any other class action filed against any of the Released
Persons.

(c) Except for those Settlement Class Members who timely and properly file a
request for exclusion, all other Settlement Class Members will be deemed to be Settlement Class
Members for all purposes under the Agreement, and upon the Final Settlement Date (as defined in
the Settlement Agreement), will be bound by its terms, including, but not limited to, the Releases
in Section 12 of the Settlement Agreement.

(d) If the proposed Settlement is finally approved, any Settlement Class
Member who has not submitted a timely, written request for exclusion or to opt-out from the
Settlement Class shall be bound by all subsequent proceedings orders, and judgments in this
Action, even if he or she has pending, or subsequently initiates, litigation against Amazon or

any of the Released Parties relating to any of the Released Claims.

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12. Objections and Appearances. Any Settlement Class Member who has not

filed a timely written request for exclusion and who complies with the requirements of this

Paragraph may object to any aspect of the proposed settlement either on his or her own or

through an attorney hired at his or her expense. Any Settlement Class Member who wishes to

object to the Settlement Agreement must do so in writing and must file with the Clerk of Court

and serve on Class Counsel and Defense Counsel at the addresses listed below, a written

statement of obj ection in accordance with the requirements set forth below and in the Settlement

Agreement. The written statement of objection must be postmarked no later than October 1,

2018, which is forty-five (45) days after the Mail Notice Date.

To Plaintiffs:

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Attorneys forDefendant Amazon. com DEDC LLC

(a) The requirements to assert a valid written objection shall be set forth in the

long form Class Notice, and shall include: (a) the case name and number; (b) the name, address,

telephone number of the person objecting and, if represented by counsel, of his/her counsel; (c) a

description of the specific basis for each objection raised; (d) a statement of whether he/she intends

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to appear at the Final Approval Hearing, either with or without counsel; (e) the address of the
property securing the loan for which he/she received the reinstatement quote letter; (f) if the
objector is represented by counsel, a statement as to the number of` objectors in this case counsel
represents; (g) if the objector’s counsel expects to be paid other than by the objector client, a
statement of counsel’s proposed hourly rate and the number of hours expended on the case through
the filing of the objection; and (h) a statement by objector’s counsel of all class action cases_
identifying cases by style-in which counsel has represented objectors in the past eighteen

months..

(b) Any Settlement Class Member who fails to object to the Settlement in the
manner described in the Agreement, the Class Notice, and this Order shall be deemed to have
waived any such objection, shall not be permitted to object to any terms or approval of the
Settlement at the Final Approval Hearing, and shall be foreclosed from seeking any review of the
Settlement or the terms of the Agreement by appeal or other means;

(c) Any Settlement Class Member who submits a timely written objection may
appear, in person or by counsel, at the Final Approval Hearing held by the Court, to show cause
why the proposed Settlement Agreement should not be approved as fair, adequate, and reasonable,
provided that the objecting Settlement Class Member: (a) files with the Clerk of the Court a notice
of intention to appear at the Final Approval Hearing (“Notice Of Intention to Appear”), which
must include the case name and number and the Settlement Class Member’s name, address,
telephone number, and si gnature, by the Obj ection Deadline (as identified in Paragraph 12 above);
and (b) serves the Notice Of Intention To Appear on all counsel designated in the Class Notice by
the Objection Deadline. The Notice of Intention to Appear must include copies of any papers,

exhibits, or other evidence that the objecting Settlement Class Member will present to the Court

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in connection with the Final Approval Hearing. Any attorney who intends to represent an objecting
Settlement Class Member at the Final Approval Hearing must do so at the Settlement Class
Member’s expense and must flle a notice of appearance at least two weeks before the Final
Approval Hearing. Any Settlement Class Member who does not file a Notice of Intention To
Appear in accordance With the deadlines and other specifications set forth in the Agreement, the
Class Notice, and this Order Will not be entitled to appear at the Final Approval Hearing to raise
any objections v

13. Releases. lf the Settlement is finally approved, all Settlement Class Members who
have not filed a timely and proper request for exclusion shall release the Released Persons from
all Released Claims, as described in Section V of the Settlement Agreement.

14. Attorneys’ Fees and Expenses, and Service Awards. Amazon agrees not to
oppose an application for the award of Attomeys’ Fees and Expenses in this Action not to exceed
one-third (1/3) of the Settlement Fund ($1,666,666). Amazon also agrees not to oppose the
application for a Service Award of $3,000 for each Named Plaintiff for his work and assistance in
this Action. Class Counsel shall file their motion requesting these awards no later than twenty-one
days before the Final Faimess Hearing, and the Court shall permit Class Members who have filed
valid written objections a period of seven days to supplement their objections to respond to Class
Counsel’s motion for attorneys’ fees and Service Awards. Class Counsel may respond to any
objections not later than seven days before the Final Fairness Hearing.

15. Preliminary Injunction. All Settlement Class Members who do not timely exclude
themselves from the Settlement Class are hereby preliminarily enjoined from directly or indirectly
(i) asserting any of the Released Claims (as that term is defined in the Settlement Agreement) in

any action or proceeding; (ii) filing, commencing, prosecuting, intervening in, or participating in

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(as class members or otherwise) any lawsuit based on or relating to any of the Released Claims
or the facts and circumstances relating thereto; or (iii) organizing any Settlement Class
Members into a separate class for purposes of pursuing as a purported class action any lawsuit
(including by seeking to amend a pending complaint to include class allegations or seeking
class certification in a pending action) based on or relating to any of the Released Claims or
the facts and circumstances relating thereto against the Released Parties

16. Service of Papers. Class Counsel and Defense Counsel shall serve on each
other and on all other parties who have filed notices of appearance or written objections, at
or before the Final Approval Hearing, any further documents in support of the proposed
Settlement, including responses to any papers filed by Settlement Class Members Class
Counsel and Defense Counsel shall promptly furnish to each other any and all objections or
written requests for exclusion that may come into their possession and shall file such
objections or requests for exclusion with the Court on or before the date of the Final Approval
Hearing.

17. Termination of Settlement. This Order shall become null and void, and shall
be without prejudice to the rights of the Parties, all of whom shall be restored to their respective
positions existing immediately before this Court entered this Order, if (i) the proposed
Settlement is not finally approved by the Court, or does not become Final (as defined in the
Settlement Agreement), pursuant to the terms of the Settlement Agreement; or (ii) the
Settlement Agreement is terminated or does not become Final, as required by the terms of the
Settlement Agreement, for any other reason. ln Such event, and except as provided therein, the
proposed Settlement and Settlement Agreement shall become null and void and be of no

further force and effect; the preliminary certification of the Settlement Class for settlement

 

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purposes shall be automatically vacated; neither the Settlement Agreement nor the Court’s
Orders including this Order, shall be used or referred to for any purpose whatsoever; and the
Parties shall retain, without prejudice, any and all objections arguments and defenses with
respect to class certification, including the right to argue that no class should be certified for any
purpose.

18. Use of Order Following Termination of Settlement. This Order shall be of no
force and effect if the Settlement does not become Final and shall not be construed or used as j
an admission, concession, or declaration by or against Amazon of any fault, wrongdoing, breach,
or liability, or by or against Plaintiffs or the Settlement Class Members that their claims lack
merit or that the relief requested in the Class Complaint in this Action is inappropriate, improper,
or unavailable, or as a waiver by any party of any defenses or arguments it may have.

19. Necessary Steps. The Court authorizes the Parties to take all necessary and

appropriate steps to implement the Settlement Agreement.
DONE and oRDERED this 17"1 day of July , 2018.

s/Richard A. Lazzara
UNITED STATES DISTRICT JUDGE
I-lonorable Richard A. Lazzara

